Case 4:16-cv-00591 Document 53 Filed on 07/12/18 in TXSD Page 1 of 2

IN THE UNITED STATES COURT OF APPEALS
United States District Court FOR THE FIFTH CIRCUIT

Southern District of Texas

 

United States Court of Appeals
Fifth Circuit

JUL 12 2018 No. 16-20793 FILED
June 20, 2018

 

David J. Bradley, Clerk of Court D.C. Docket No. 4:16-CV-591
Lyle W. Cayce

DANYAL SHAIKH, Clerk

Plaintiff - Appellant
Vv.

TEXAS A&M UNIVERSITY COLLEGE OF MEDICINE; MICHAEL K.
YOUNG; PAUL OGDEN,

Defendants - Appellees

Appeal from the United States District Court for the
Southern District of Texas

Before DENNIS, CLEMENT, and GRAVES, Circuit Judges.

JUDGMENT

This cause was considered on the record on appeal and was argued by
counsel.

It is ordered and adjudged that the judgment of the District Court is
affirmed, reversed, and the cause is remanded to the District Court for further
proceedings in accordance with the opinion of this Court.

IT IS FURTHER ORDERED that each party bear its own costs on
appeal.

EDITH BROWN CLEMENT, Circuit Judge, dissenting in part.

 

Certified as a true copy and issued
as the mandate on Jul 12, 2018

W. Cones

Clerk, U.S. Court of Appeafs, Fifth Circuit

Attest:
Case 4:16-cv-00591 Document 53 Filed on 07/12/18 in TXSD_ Page 2 of 2

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE
NEW ORLEANS, LA 70130

July 12, 2018

Mr. David J. Bradley

Southern District of Texas, Houston
United States District Court

515 Rusk Street

Room 5300

Houston, TX 77002

No. 16-20793 Danyal Shaikh v. Texas A&M Univ Clge of
Medc, et al
USDC No. 4:16-CV-591

Dear Mr. Bradley,

Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.

Sincerely,
LYLE W. CAYCE, Clerk
By:

LaToya C. Allen, Deputy Clerk
504-310-7623

 

ec: Mr. Martin J. Cirkiel
Mr. Donald Henslee
Mr. Eric Alan Hudson
